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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RONISHA FERGUSON, individually and on behalf of her
minor children S.J. and A.J.,

                          Plaintiff,

                            -v.-

CITY OF NEW YORK, KERRYANNE GRAHAM, ALPHY                      22 Civ. 1000 (KPF)
CONTRERAS, LORNA MITCHELL, JACQUELINE
                                                                  ORDER OF
BATISTA, KAWAN INMAN, DEANNA JOHNSTON,
                                                               DISCONTINUANCE
IYEISHA WITHERSPOON, MARIANNE WHITFIELD,
JANELLE COGER, MARLENE WILSON, JOHN COTTO,
JOHN/JANE DOES NOS. 1-4, WILLIAM KESSLEMAN,
CHAMELL WILSON, PO HECTOR BASORA, PO G
COTTO, PO RODRIGUEZ, and SGT. MEER DEEN,

                          Defendants.

KATHERINE POLK FAILLA, District Judge:

      By letter dated July 14, 2023, the parties reported to the Court that they

have reached a settlement in principle in this case. Accordingly, it is hereby:

      ORDERED that this action be conditionally discontinued without

prejudice and without costs; provided, however, that within thirty (30) days of

the date of this Order, the parties may submit to the Court their own

Stipulation of Settlement and Dismissal for the Court to So Order. Otherwise,

within such time Plaintiff may apply by letter for restoration of the action to the

active calendar of this Court in the event that the settlement is not

consummated. Upon such application for reinstatement, the parties shall

continue to be subject to the Court’s jurisdiction, the Court shall promptly

reinstate the action to its active docket, and the parties shall be directed to

appear before the Court, without the necessity of additional process, on a date
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within ten (10) days of the application, to schedule remaining pretrial

proceedings and/or dispositive motions, as appropriate. This Order shall be

deemed a final discontinuance of the action with prejudice in the event that

Plaintiff has not requested restoration of the case to the active calendar within

such 30-day period.

      The Clerk of Court is directed to terminate all pending motions, adjourn

all remaining dates, and close this case.

      SO ORDERED.

Dated: July 17, 2023
       New York, New York

                                              KATHERINE POLK FAILLA
                                             United States District Judge




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